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                    UNITED STATES DISTRICT COURT
                  FOR THE NORTHEN DISTRICT OF OHIO

EVAN LAMBERT,

                  Plaintiff,               CASE NO. 4:23-cv-02200
      v.

COLUMBIANA COUNTY, CITY OF                  JUDGE BENITA Y. PEARSON
EAST PALESTINE, JOHN C.
HARRIS, JR., BRIAN
MCLAUGHLIN, JENNIFER
TUCKER, JAMES BROWN, III, AND
DANIEL HAUETER, in their personal
capacities.

                  Defendants.


                     ORDER GRANTING MOTION
                    TO DROP CERTAIN DEFENDANTS

      Upon consideration of Plaintiff’s Motion to Drop Certain Defendants and

any opposition thereto, it is hereby ORDERED that Plaintiff’s Motion is

GRANTED and Plaintiff’s claims against defendants Brian McLaughlin, Jennifer

Tucker, James Brown III, and Daniel Haueter are hereby DISMISSED with

prejudice.


               18 2024
Date: January ____,                    /s/ Benita Y. Pearson
                                     ______________________________
                                     United States District Judge
